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                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORN A


UNITED STATES OF AMERICA,                  CASE NO. 13CR3660-BEN

                       Plaintiff,
               vs.                         JUDGMENT OF DISMISSAL
JOSEPH FREELAND MCLEOD (4),

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

__x__ the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

__
 X__ of the offense(s} as charged in the Information:

     8:1324(a} (1) (A) (ii) and (v) (I) - Conspiracy to Transport

      Illegal Aliens

          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: OCTOBER 22, 2013
